UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS .
HOUSTON DIVISION

UNITED STATES OF AMERICA ee 1
Ve. CaseNo. 24 CR | 224

- RADA AKHOUNDOVA

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Defendant.

INFORMATION FOR VIOLATION OF FOREIGN AGENTS REGISTRATION ACT

~ The United States charges: . oo a

From in or around September 2020 through in or around January 2021, in the Southern
District of Texas and elsewhere, the defendant, IRADA AKHOUNDOVA, did willfully act in the
United States as an agent of a foreign principal, to wit, the Government of Azerbaijan, without
registering with the Attorney General as required by the Foreign Agents Registration Act.

All in violation of Title 22, United States Code, Sections 612(a) and 618(a)( 1).

JENNIFER KENNEDY GELLIE ' COREY R. AMUNDSON
Executive Deputy Chief Chief

performing the duties of Chief — - Public Integrity secthon
Counterintelligence and Export Control Section Criminal Division
National Security Division mo U.S. Department of Justice

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